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 6
      Attorneys for Defendant
 7    HARTFORD FINANCIAL SERVICES GROUP, INC.
 8

 9
                             UNITED STATES DISTRICT COURT
10
            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
      RIFM Properties, LLC           )           Case No.:
12                                   )
                          Plaintiff, )           NOTICE OF REMOVAL OF ACTION
13                                   )           UNDER 28 U.S.C. § 1441
      v.                             )
14                                   )           [Filed concurrently with Declaration of
      HARTFORD FINANCIAL             )           Jeffrey Burt; Certification of Interested
15    SERVICES GROUP, INC.;          )           Parties and Corporate Disclosure
      BENVENISTE & FRANCKE           )           Statement; and Civil Case Cover Sheet]
16    INSURANCE SERVICES; DANIEL )
      FRANCKE, a/k/a DAN FRANCKE, )              State Case No.: 21STCV37002
17    AN INDIVIDUAL; AND DOES 1-5, )             State Complaint Filed: October 6, 2021
                                     )           State Trial Date: None set
18                                   )
      Defendants.                    )
19                                   )
                                     )
20                                   )
                                     )
21                                   )
                                     )
22                                   )
23    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
24            PLEASE TAKE NOTICE that Defendant HARTFORD FINANCIAL
25    SERVICES GROUP, INC. (hereinafter “Hartford”) hereby removes the above-
26    captioned action from the Superior Court of the State of California, County of Los
27    Angeles, where it is currently pending as case number 21STCV37002 (“State
28    Action”), to the United States District Court for the Central District of California.
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 1            Removal is warranted under 28 U.S.C. §1441(b) because the Court has
 2    subject matter jurisdiction under 28 U.S.C. §1332 over the State Action. Pursuant
 3    to 28 U.S.C. §1332(c)(l), full diversity exists among the parties in this action
 4    because Plaintiff and defendant Hartford Financial Services Group, Inc.
 5    (“Hartford”) are citizens of a different state, as evidenced by where they are
 6    alleged or are incorporated, and maintain their principal places of business. As set
 7    forth below, the residence of the purported broker defendants Benveniste &
 8    Francke Insurance Services and Daniel Francke, a/k/a Dan Francke is irrelevant
 9    because they have been fraudulently joined as sham defendants.
10            Further, removal is warranted as the amount in controversy exceeds the sum
11    of $75,000.
12            This Notice of Removal is timely because it is filed within thirty days of
13    service of a copy of the Summons and Complaint of the State Action upon
14    Hartford, which occurred on November 5, 2021.
15            Pursuant to 28 U.S.C. § 1446(a), copies of all process and pleadings in the
16    State Action received by Hartford are attached to the Declaration of Jeffrey Burt
17    (“Burt Dec.”) as Exhibits A and B.
18            Pursuant to 28 U.S.C. § 1446(d), a Notice to Adverse Parties of Removal to
19    Federal Court, together with this Notice of Removal, will be served upon counsel
20    for all parties and be filed in the State Action concurrently with this Notice.
21                                       BACKGROUND
22            On October 6, 2021, Plaintiff RIFM Properties, LLC (“Plaintiff”), a
23    California resident, commenced the State Action in the Superior Court for the State
24    of California, County of Los Angeles, entitled RIFM Properties, LLC v. Hartford
25    Financial Services Group, Inc.; Benveniste & Francke Insurance Services; Daniel
26    Francke a/k/a Dan Francke, Case Number 21STCV37002. Plaintiff’s Complaint
27    in the State Action asserts causes of action for (1) Breach of Contract; (2) Breach
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 1    of the Covenant of Good Faith and Fair Dealing; and (3) Tortious Breach of the
 2    Covenant of Good Faith and Fair Dealing.
 3            On November 5, 2021, Hartford was provided with notice of the
 4    commencement of the State Action by receipt of a copy of the Summons and
 5    Complaint via Corporation Service Company. Declaration of Jeffrey Burt (“Burt
 6    Dec.”) at ¶ 2.
 7            The subject insurance policy was issued by Navigators Specialty Insurance
 8    Company (“Navigators”), not by Hartford, to US Home Pros, Inc. (“Home Pros”).
 9    Declaration of Steven Lokus (“Lokus Dec.”) at ¶¶2, 3.
10            Defendants Benveniste & Francke Insurance Services and Daniel Francke
11    (“Brokers”) are the insurance brokers for Navigators’ insured, Home Pros, and are
12    not brokers for Plaintiff.      Burt Dec. at ¶3; see also Exhibit A to Plaintiff’s
13    Complaint in this matter.      Since Plaintiff is not in privity with Brokers, Plaintiff
14    can never state a valid claim against Brokers and they are therefore sham
15    defendants.
16                                GROUNDS FOR REMOVAL
17            This Court has subject matter jurisdiction over the State Action under 28
18    U.S.C. §1332, which confers upon the “district courts…original jurisdiction of all
19    civil actions where the matter in controversy exceeds the sum or value of $75,000,
20    exclusive of interest and costs, and is between … citizens of different States[.]”
21                               AMOUNT IN CONTROVERSY
22            The amount in controversy exceeds $75,000.00, as evidenced by the
23    Complaint in the State Action in which Plaintiff is seeking general, special and
24    punitive damages for Hartford’s alleged Breach of Contract and Bad Faith Breach
25    of the Covenant of Good Faith and Fair Dealing arising out of an underlying
26    personal injury suit. See Complaint ¶¶ 16-18, 23-24, 29-30, 34-35; see also Prayer
27    for Relief, Complaint, page 8, ¶¶ 1-6; Exhibit A to Burt Dec. Hartford is informed
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 1    and believes that Plaintiff seeks more than $75,000 from Defendants, and has
 2    therefore placed at least that amount at issue in this action.
 3                               DIVERSITY OF CITIZENSHIP
 4            Plaintiff is a California LLC, as evidenced by the allegations of its
 5    Complaint filed in the State Action. See Complaint ¶5; Exhibit A to Burt Dec.
 6    Defendant The Hartford Financial Services Group, Inc. is incorporated in the State
 7    of Delaware and has its principal place of business in the State of Connecticut.
 8    Lokus Dec. ¶ 3.
 9            As such, for purposes of determining diversity, defendant Hartford is a
10    citizen of the State of Delaware, and Plaintiff is a citizen of the State of California.
11            As set forth above, because the Broker defendants are not Plaintiff’s
12    insurance brokers, but rather the brokers for Navigators’ insured Home Pros,
13    Plaintiff is not in privity with Brokers. As a result, Plaintiff can never state a valid
14    claim against Brokers. Accordingly, Brokers are sham defendants who have been
15    fraudulently joined and their state of residence is irrelevant for purposes of subject
16    matter jurisdiction.
17            Based on the foregoing, this Court has subject matter jurisdiction over this
18    action. Accordingly, this action is properly removed.
19            WHEREFORE, Hartford files this Notice of Removal so that the entire
20    action entitled RIFM Properties, LLC v. Hartford Financial Services Group, Inc.;
21    Benveniste & Francke Insurance Services; Francke Daniel a/k/a Dan Francke,
22    Case Number 21STCV37002, now pending in the Superior Court for the State of
23    California, County of Los Angeles, shall be removed to this Court for all further
24    proceedings.
25    ///
26    ///
27    ///
28    ///
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 1    DATE: December 6, 2021                   WILSON, ELSER, MOSKOWITZ
 2
                                                EDELMAN & DICKER LLP

 3                                             By:      /s/ Jeffrey Burt
 4
                                                     Paul White
                                                     Jeffrey Burt
 5                                                   Attorneys for Defendant,
 6                                                   HARTFORD FINANCIAL SERVICES
                                                     GROUP, INC.
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